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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



                                                            Master Case No.
IN RE GEORGIA SENATE BILL 202
                                                            1:21-MI-55555-JPB

UNITED STATES OF AMERICA,

                    Plaintiff,

                     v.

THE STATE OF GEORGIA; et al.,                               Civil Action No.
                                                            1:21-CV-2575-JPB
                    Defendants,

THE REPUBLICAN NATIONAL COMMITTEE; et
al.,

                    Intervenor-Defendants.



                          CERTIFICATE OF SERVICE

      Pursuant to LR 5.4(A), NDGa., I hereby certify that on February 2, 2023, I

served (1) Plaintiffs’ Joint Notice of Deposition of Blake Evans and (2) a Rule 45

Subpoena for Testimony to Ryan Germany, via electronic mail to counsel for Mr.

Evans and Mr. Germany.

                                      Respectfully submitted,
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                               /s/ Elizabeth M. Ryan

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